      Case 2:23-cv-00160-RWS Document 19-4 Filed 05/14/24 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        GAINSVILLE DIVISION

THOMAS CHASTAIN,                      )
and JONATHAN V. DUNN, Individually )
And on Behalf of All Others Similarly )
Situated,                             )        CLASS ACTION
                                      )        CIVIL ACTION FILE
      Plaintiffs,                     )        NO. 2:23-CV-160-RWS
                                      )
v.                                    )
                                      )
BLUE LINE SOLUTIONS, LLC              )
                                      )
      Defendant.                      )

                                    ORDER

      The Court has considered Plaintiffs’ motion to amend or alter the Court’s

Order granting the Defendant’s motion to dismiss and for leave to file a Second

Amended Class Action Complaint.

      Accordingly, it is hereby ORDERED AND ADJUDGED that:

      (1) Plaintiff's Motion to Amend or Alter Order Granting Motion to Dismiss

and for Leave for Plaintiffs to file a Second Amended Class Action Complaint is

GRANTED.

      (2) The Clerk is hereby directed to REOPEN the above-captioned case.




                                       1
      Case 2:23-cv-00160-RWS Document 19-4 Filed 05/14/24 Page 2 of 2




     (3) Plaintiffs may file the proposed Second Amended Class Action

Complaint on or before _______________.

     SO ORDERED, this the ___ day of _________, 2024.



                                   ______________________________
                                   Richard W. Story
                                   United States District Judge




                                      2
